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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                       UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                  V.                                (For Offenses Committed On or After November I, 1987)
              FREDERICK PAUL CHASE (I)
                                                                       Case Number:         15CR2515-H

                                                                    Paul D. Turner
                                                                    Defendant's Attorney
REGISTRATION NO.                  83068-012

0-
~    pleaded guilty to count(s)         1 and 2 ofthe Indictment.

o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is a<1judged guilty of such count(s), which involve the following offense(s):
                                                                                                                      Count
Title & Section                    Nature of Offense                                                                 Numberfs)
21 USC 846, 841(a)(I)              CONSPIRACY TO DISTRIBUTE OXYCODONE                                                   1

21 USC 841(a)(I)                   DISTRIBUTION OF METHAMPHETAMINE                                                        2




     The defendant is sentenced as provided in pages 2 through                4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s)
                ---------------------- is                                 dismissed on the motion of the United States.

~    Assessment: $200.00 ($100.00 per count).



~   Fine waived            ~ Forfeiture pursuant to amended order filed on March 23, 2016, included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    May 2. 2016
                      FILED                                         Date ofimposition of Sentence



                  I    MAY - :2016
              CLERK US DIS1HICl COURT
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           SOUTHERN DISTRICT FC LlFORNIA
           BY                              DEPUTY


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                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 COUNT I: 40 MONTHS.
 COUNT 2: 40 MONTHS TO RUN CONCURRENT WITH COUNT I.




 D     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 ~     The court makes the following recommendations to the Bureau of Prisons:
       The Court recommends placement in or near the Central District of California. The Court further
       recommends that the defendant participate in the RDAP program.




 D     The defendant is remanded to the custody of the United States Marshal.

 D     The defendant shall surrender to the United States Marshal for this district:
       D at _ _ _ _ _ _ _ A.M.                            on ___________________________________

        D    as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 D
       Prisons:
        D    on or before
        D    as notified by the United States Marshal.
        D    as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on   __________________________ w

 at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL



                                                                                                           15CR2515-H
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                                                              SUPERVISED RELEASE
     Upon release from imprisonment, the defendant shall be on supervised release for a term of:
     COUNT 1: 3 YEARS.
     COUNT 2: 3 YEARS TO RUN CONCURRENT WITH COUNT 1,



          The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
     custody of the Bureau of Prisons unless removed from the United States,
     The defendant shall not commit another federal, state or local crime,
     For offenses committed on or after September 13, 1994:
     The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
     substance, The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
     thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
     term of supervision, unless otherwise ordered by court.
               The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
     o         substance abuse. (Check, if applicable,)
               The defendant shall not possess a fIrearm, ammunition, destructive device, or any other dangerous weapon,
               The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
               Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
               The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U's,C. § 16901, et
     o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
               resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
     o         The defendant shall participate in an approved program for domestic violence, (Check if applicable.)

               [fthis judgment imposes a fme or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
          such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
          Payments set forth in this judgment.
               The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
           with any special conditions imposed.
                                              STANDARD CONDITIONS OF SUPERVISION
          1)  the defendant shall not leave the judicial district without the pennission of the court or probation officer;
          2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
          3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
          4)  the defendant shall support his or her dependents and meet other family responsibilities;
          5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
              reasons;
          6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
          7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
              any paraphernalia related to any controlled substances, except as prescribed by a physician;
          8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
          9) the defendant shan not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
              unless granted pennission to do so by the probation officer;
          10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any contraband
              observed in plain view of the probation officer;
          11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
          12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the pennission of
              the court; and
          13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
              personal history or characteristics and shall pennit the probation officer to make such notifications and to confirm the defendant's compliance
              with such notification requirement.

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                                 SPECIAL CONDITIONS OF SUPERVISION

     I. Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation
        Officer at a reasonable time and in a reasonable marmer, based upon reasonable suspicion of contraband
        or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
        revocation; the defendant shall wam any other residents that the premises may be subject to searches
        pursuant to this condition.

     2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

     3. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
        and counseling, as directed by the probation officer. Allow for reciprocal release of information between
        the probation officer and the treatment provider. May be required to contribute to the costs of services
        rendered in an amount to be determined by the probation officer, based on ability to pay.

     4. Provide complete disclosure of personal and business financial records to the probation officer as
        requested.

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